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                    EXHIBIT 1
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Broadcast Message: COVID-19 and Fall 2020

To: All SEVIS Users

Date: July 6, 2020
Number: 2007-01



General Information

Temporary procedural adaptations related to online courses permitted by the Student and
Exchange Visitor Program (SEVP) during the height of the Coronavirus Disease (COVID-19)
crisis will be modified for the fall 2020 semester. There will still be accommodations to provide
flexibility to schools and nonimmigrant students, but as many institutions across the country
reopen, there is a concordant need to resume the carefully balanced protections implemented by
federal regulations. The U.S. Department of Homeland Security plans to publish the procedures
and responsibilities described in the below Broadcast Message in the near future as a Temporary
Final Rule in the Federal Register. This message is intended to provide additional time to
facilitate the implementation of these procedures.

Due to COVID-19, SEVP instituted a temporary exemption regarding the online study policy for
the spring and summer semesters. This policy permitted F and M students to take more online
courses than normally allowed for purposes of maintaining a full course of study to maintain their
F-1 and M-1 nonimmigrant status during the COVID-19 emergency.

Temporary Exemptions for the Fall 2020 Semester
For the fall 2020 semester, SEVP is modifying these temporary exemptions. In summary,
temporary exemptions for the fall 2020 semester provide that:

1) Students attending schools operating entirely online may not take a full online course load
   and remain in the United States. The U.S. Department of State will not issue visas to students
   enrolled in schools and/or programs that are fully online for the fall semester nor will U.S.
   Customs and Border Protection permit these students to enter the United States. Active
   students currently in the United States enrolled in such programs must depart the country or
   take other measures, such as transferring to a school with in-person instruction to remain in
   lawful status or potentially face immigration consequences including, but not limited to, the
   initiation of removal proceedings.

2) Students attending schools operating under normal in-person classes are bound by existing
   federal regulations. Eligible F students may take a maximum of one class or three credit
   hours online (see 8 CFR 214.2(f)(6)(i)(G)).

3) Students attending schools adopting a hybrid model—that is, a mixture of online and in
   person classes—will be allowed to take more than one class or three credit hours online.
   These schools must certify to SEVP, through the Form I-20, “Certificate of Eligibility for
   Nonimmigrant Student Status,” that the program is not entirely online, that the student is not
   taking an entirely online course load for the fall 2020 semester, and that the student is taking
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   the minimum number of online classes required to make normal progress in their degree
   program. The above exemptions do not apply to F-1 students in English language training
   programs or M-1 students, who are not permitted to enroll in any online courses (see 8 CFR
   214.2(f)(6)(i)(G) and 8 CFR 214.2(m)(9)(v))).

Forms I-20 Requirements and Maintaining Student Records for the Fall 2020 Semester

For all students attending schools in the United States this fall 2020, designated school officials
(DSOs) must issue new Forms I-20 to each student certifying that the school is not operating
entirely online, that the student is not taking an entirely online course load for the fall 2020
semester, and that the student is taking the minimum number of online classes required to make
normal progress in their degree program. DSOs must indicate this information in the Form I-20
Remarks field in the Student and Exchange Visitor Information System (SEVIS).

Schools must update and reissue all Forms I-20 to reflect these changes in program enrollment
and student information within 21 business days of publication of this Broadcast Message (by
Aug. 4, 2020.) When issuing new Forms I-20, please prioritize students who require new visas
and are outside of the country.

For the fall 2020 semester, continuing F and M students who are already in the United States
may remain in Active status in SEVIS if they make normal progress in a program of study, or are
engaged in approved practical training, either as part of a program of study or following
completion of a program of study. If a school changes its operational stance mid-semester, and as
a result a nonimmigrant student switches to only online classes, or a nonimmigrant student
changes their course selections, and as a result, ends up taking an entirely online course load,
schools are reminded that nonimmigrant students within the United States are not permitted to
take a full course of study through online classes. If nonimmigrant students find themselves in
this situation, they must leave the country or take alternative steps to maintain their
nonimmigrant status such as transfer to a school with in-person instruction.

For the fall 2020 semester, continuing F and M students outside of the United States, whose
schools of enrollment are only offering online classes, may remain in Active status in SEVIS if
they are taking online courses and are able to meet the normal full course of study requirements
or the requirements for a reduced course of study. Only students enrolled at a school that is only
offering online coursework can engage in remote learning from their home country. In this case,
DSOs should annotate the student’s record to make it clear that the student is outside the US but
taking full time online courses as that is the only choice offered by the school.

School Reporting and Procedural Requirements

   1) Schools that offer entirely online classes or programs or will not reopen for the fall 2020
      semester must complete an operational change plan and submit it to SEVP@ice.dhs.gov
      no later than Wednesday, July 15, 2020. The subject line must read: “Fall 2020 (Fully
      Online/Will not Reopen) – School Name and School Code.”

   2) Certified schools that will not be entirely online but will reopen in the fall and that will
      use any of the following educational formats must update their operational plans by
      August 1, 2020 and include whether they will be:
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   •   Solely in-person classes, or

   •   Delayed or shortened sessions, or

   •   A hybrid plan of in-person and remote classes.

These plans shall also be submitted to SEVP@ice.dhs.gov and the subject line must read: “Fall
2020 (in person/hybrid/modified session) – School Name and School Code
   3) Schools should update their operational plans if circumstances regarding their operational
       posture change within 10 calendar days.

SEVP will continue to develop and provide resources to stakeholders on ICE.gov, including
answers to frequently asked questions, to clarify and expand upon information in this Broadcast
Message.

Disclaimer

This Broadcast Message is not a substitute for applicable legal requirements, nor is it itself a rule
or a final action by SEVP. It is not intended to, does not, and may not be relied upon to create
any right or benefit, substantive or procedural, enforceable at law by any party in any
administrative, civil or criminal matter.
